Case 21-22080-GLT             Doc 442      Filed 11/23/21 Entered 11/23/21 13:21:50                     Desc Main
                                          Document      Page 1 of 8



                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

     In Re:
                                                             Case No. 21-22080-GLT
     ROCKDALE MARCELLUS HOLDINGS,
     LLC, and ROCKDALE MARCELLUS, LLC,1                      Chapter 11

                             Debtors.       (Jointly Administered)
     ______________________________________
     THE OFFICIAL COMMITTEE OF              Document No.
     UNSECURED CREDITORS OF ROCKDALE
     MARCELLUS HOLDINGS, LLC, and           Related to Doc. No. 276, 397
     ROCKDALE MARCELLUS, LLC,
                                            Hearing Date: December 14, 2021
                              Movant,
                                            Hearing Time: 1:00 PM
        v.

     NO RESPONDENT.


    SUPPLEMENT TO APPLICATION OF THE OFFICIAL COMMITTEE OF
 UNSECURED CREDITORS PURSUANT TO SECTIONS 328(a), 330, AND 1103 OF
 THE BANKRUPTCY CODE, FEDERAL RULES OF BANKRUPTCY PROCEDURE
   2014(a) AND 2016, AND LOCAL RULE 2016-1 FOR AUTHORIZATION TO
     RETAIN AND EMPLOY RIVERON RTS, LLC AS FINANCIAL ADVISOR
                     EFFECTIVE AS OF OCTOBER 7, 2021

              The Official Committee of Unsecured Creditors (the “Committee”) of the above-captioned

 debtors in possession (collectively, the “Debtors”) hereby submits this Supplement to the

 Application previously submitted for authorization to retain and employ Riveron RTS, LLC f/k/a

 Conway MacKenzie, LLC (“RTS” or “Riveron”) at Docket No. 276 (the “Application”).2 In

 support of the Supplement, the Committee submits the Second Supplemental Declaration of Gary

 R. Barton (the “Second Supplemental Barton Declaration”), attached hereto as Exhibit A, and the



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: Rockdale Marcellus Holdings, LLC (7117); Rockdale Marcellus, LLC (8767). The Debtors’ address is
 4600 J. Barry Ct., Suite 220, Canonsburg, PA 15317.
 2
   Terms not defined herein have the meaning ascribed to them in the Application.


 DOCS_LA:340806.3 75205/002
Case 21-22080-GLT             Doc 442    Filed 11/23/21 Entered 11/23/21 13:21:50        Desc Main
                                        Document      Page 2 of 8




 Declaration of John T. Young, Jr. (the “Young Declaration”), attached hereto as Exhibit B, in

 further support of the Application.

                                   PRELIMINARY STATEMENT

         1.       The Committee files this Supplement to address the questions and concerns raised

 by the Court at the November 12, 2021 hearing on the Application. As the Court is aware, RTS’s

 predecessor, Conway MacKenzie, LLC, performed financial advisory services for Rockdale

 Marcellus Holdings, LLC in 2020 (the “2020 Engagement”).

         2.       Prior to selecting RTS as its proposed financial advisor, the Committee carefully

 considered issues relating to RTS’s retention, both before RTS began work and also during the

 case in connection with the U.S. Trustee’ informal comments and requests for revision to the

 Application. The Committee submits that RTS’s retention as financial advisor to the Committee

 is necessary and in the best interests of unsecured creditors in these cases.

         3.       As a result of informal inquiries by the U.S. Trustee, RTS produced its 2020

 Engagement Letter as well as invoices on a confidential basis to the U.S. Trustee and filed the

 formal information barrier agreement (the “Information Barrier Agreement”) that its professionals

 have signed. RTS agreed to waive any pre-petition claim that it potentially had against the Debtors

 arising from the 2020 Engagement Letter. RTS further agreed to the Engagement Carveout

 (discussed below) at the request of the U.S. Trustee.

         4.       Further, as noted by Mr. Alaniz at the hearing, the Debtors also conducted their

 own diligence and inquiry, including reviewing the situation with the Board of Directors, to ensure

 that the Debtors’ information relating to the 2020 Engagement Letter was sufficiently screened off

 and would be kept confidential. The Debtors interviewed the members of the Riveron 2020

 Engagement team to be assured that there was a complete separation of the two teams as far as

                                                   2
 DOCS_LA:340806.3 75205/002
Case 21-22080-GLT             Doc 442    Filed 11/23/21 Entered 11/23/21 13:21:50        Desc Main
                                        Document      Page 3 of 8



 personnel and an information barrier. Mr. Alaniz confirmed that Mr. Young was not involved

 substantively in the 2020 Engagement from the Debtors’ perspective. The Debtors further directed

 RTS to destroy all confidential information and work product related to the 2020 Engagement

 Letter, which RTS promptly did to the satisfaction of the Debtors thereby obviating the need for

 objection.

         5.       At this juncture in the case, RTS’s team of professionals have spent a significant

 amount of time and resources to get up to speed in these cases, and if the Committee would need

 to select alternate financial advisors, the Committee would be greatly prejudiced. RTS is one of

 the leading firms in the oil and gas industry and the Debtors, the first lien lender, and the U.S.

 Trustee have no objection to the Committee’s choice of RTS as its financial advisor.

                                          SUPPLEMENT

         6.       At the initial hearing on the Application, the Court summarized its concerns as

 follows:

                  THE COURT: Well, I think I’ve identified them. It’s the

                  sufficiency of the declaration as it applies to the involvement of

                  John Young. You know, was he involved, was he not involved,

                  and is he going to be involved in this engagement? Was the

                  confidential information destroyed, and if so, why is there a need

                  for an information barrier? And, you know, again, knowing a little

                  bit more about the 2020 engagement to see if it would have any

                  bearing on the representation that would be provided to the

                  committee. And lastly, you know, this issue of the fact that

                  Riveron is unable to advise the committee on all aspects of what

                  would normally be an engagement in that, you know, it cannot

                                                    3
 DOCS_LA:340806.3 75205/002
Case 21-22080-GLT              Doc 442    Filed 11/23/21 Entered 11/23/21 13:21:50         Desc Main
                                         Document      Page 4 of 8



                  provide any advice, or assistance, on anything that happened

                  during the time period, I think it was five or six months advising

                  the debtors in this case.


 Nov. 12, 2021, Hearing Tr. at 17:21-18:10.

                  7.          Role of John T. Young, Jr. Mr. Young spent approximately 4.9 hours

 related to the 2020 Engagement Letter, all of which related to administrative matters, including

 setting up the client internally, review of the engagement letter, and review of invoices. See Ex.

 B, Young Decl. at ¶ 8. Mr. Young did not and does not have access to confidential information

 from the 2020 Engagement, and was not involved in providing substantive services related to the

 2020 Engagement Letter. Id. at ¶ 8.

                  8.          Mr. Young is one of the Riveron team of professionals (the “UCC Team”)

 proposed to be engaged by the Committee to advise with respect to Debtors (the “UCC

 Engagement”). Id. at ¶ 6. Mr. Young has been providing services to the Committee and the

 Committee’s request is for Mr. Young to continue to provide services to the Committee in

 connection with the UCC Engagement given his deep industry knowledge. Id.

                  9.          Each RTS professional that performed work pursuant to the 2020

 Engagement Letter, including Mr. Young, signed the Information Barrier Agreement. Id. at ¶ 5.

 Exhibit A to the Information Barrier Agreement does not list Mr. Young as a Rockdale

 professional because he worked only 4.9 hours in administrative matters related to the 2020

 Engagement and none of the time was spent rendering services in connection therewith;

 therefore, he is not considered part of the working team for the 2020 Engagement. Id. at ¶ 9.



                                                      4
 DOCS_LA:340806.3 75205/002
Case 21-22080-GLT              Doc 442    Filed 11/23/21 Entered 11/23/21 13:21:50           Desc Main
                                         Document      Page 5 of 8




                  10.         Confidential Information Barrier. In response to the Court’s question:

 “Was the confidential information destroyed, and if so, why is there a need for an information

 barrier?” – the answer is yes, the confidential information was destroyed. See Ex. A, Second

 Supp. Barton Decl. ¶ 8. It is Riveron’s general policy to have an information barrier in place for

 all its engagements. Id. at ¶ 6. The information barrier keeps confidential information from any

 client in a secure location within Riveron’s system that restricts access to the Riveron

 professionals working on the engagement and requiring access to the information. Id.

                  11.         Further, in an abundance of caution, while RTS has destroyed confidential

 information and already has an information barrier practice and policy for all matters, it

 continued its information barrier (i.e., ethical wall) so that there is no crossover of information

 (for example, dialogue or discussion or internal emails or communication) between people who

 worked on the 2020 Engagement with the UCC Engagement in the form of the Information

 Barrier Agreement attached as Exhibit A to the Barton Supplemental Declaration [Docket No.

 357]. Id. at ¶ 7. This ethical wall is purely erected as a belt and suspenders approach to further

 ensure that all personnel who worked on the prior engagement are not permitted to interact with

 people on the UCC Engagement with respect to the Debtors. Id.

                  12.         Scope of 2020 Engagement. The advisory services performed by

 Conway Mackenzie for the 2020 Engagement were not related to the preparation of these

 Chapter 11 cases. Initial Barton Decl. ¶ 14. At the time of the 2020 Engagement, the Debtors

 had a different capital structure with a different first lien lender, Citizens, and the Debtors were




                                                       5
 DOCS_LA:340806.3 75205/002
Case 21-22080-GLT              Doc 442    Filed 11/23/21 Entered 11/23/21 13:21:50          Desc Main
                                         Document      Page 6 of 8




 exploring strategic alternatives for an out-of-court restructuring. The following is a summary of

 the specific services RTS performed under the 2020 Engagement Letter:

                o Assisted the Company in evaluating its oil and gas assets to refine
                  the existing bottoms-up cash flow forecast and prepare various alternative
                  scenarios:
                       Reviewed reserve reports to understand field level cash flows;
                       Reviewed lease operating expenses and midstream costs;
                       Evaluated oil and gas development plans, including required capital
                          expenditures, timing of drilling & completion of new wells, and
                          midstream costs;
                       Prepared and evaluated capital expenditure requirements and liquidity
                          under various oil and gas development scenarios;
                       Evaluated liquidity and capital requirements under various operating
                          structures and development plans;
                       Analyzed projections and financial metrics under several capital structures
                          including volumetric production payments, overriding royalty interest, and
                          refinancing scenarios.
                o Interfaced with various stakeholders related to the Company’s liquidity, capital
                  structure, oil and gas development scenarios;
                o Facilitated with various stakeholders’ diligence requests;
                o Reviewed and updated cash flow forecasts at the request of stakeholders, required
                  under the forbearance agreements, and to assist management in managing and
                  forecasting liquidity.

 Id. at ¶ 10.

                   13.        The above detail regarding the scope of services was provided to the UCC

 Engagement team by the 2020 Engagement Team in order to allow the UCC Engagement team

 to respond to informal inquiries by the U.S. Trustee. Further in response to the U.S. Trustee’s

 inquiries, RTS produced the 2020 Engagement Letter and copies of all invoices related thereto

 on a confidential basis to the U.S. Trustee for its review.

                   14.        The Committee has reviewed the scope of services performed by Conway

 Mackenzie under the 2020 Engagement and does not believe it will have any bearing on RTS’s

 ability to provide services to the Committee in connection with the UCC Engagement.


                                                      6
 DOCS_LA:340806.3 75205/002
Case 21-22080-GLT              Doc 442      Filed 11/23/21 Entered 11/23/21 13:21:50                       Desc Main
                                           Document      Page 7 of 8




                   15.        Restriction of RTS’s Role Per Agreement with U.S. Trustee. At the

 request of the Office of the U.S. Trustee, RTS agreed to the carveout from the scope of the UCC

 Engagement as set forth in the Supplemental Barton Declaration [Docket No. 357] at paragraph

 9. After further discussion with the U.S. Trustee following the November 12th hearing, the U.S.

 Trustee has agreed to further modified language as follows: “RTS will not advise the Committee

 with respect to potential claims or causes of action against the Debtors, their insiders, or

 professionals, arising from or relating to professional services provided by RTS during the period

 when the Debtors employed RTS under the 2020 Engagement Letter” (the “Engagement

 Carveout”). See Second Supplemental Barton Decl. at ¶ 4.

                   16.        The Engagement Carveout was agreed to after consultation with

 Committee counsel. On behalf of the Committee, both Pachulski Stang Ziehl & Jones and

 Whiteford Taylor Preston are investigating all potential claims and causes of action against third

 parties, including insiders, and the Committee does not believe that its investigation requires the

 retention of a financial advisor for its investigations3 or that the Engagement Carveout will in

 any way impact or impair the Committee’s investigation in this regard. Id. at ¶ 5.

                   17.        Further, as per the Second Supplemental Barton Declaration, the time

 period of the 2020 Engagement was actually between September 18, 2020, and December 19,

 2020, which is less than a three-month time period (as opposed to the time period set forth in the

 Initial Barton Declaration). Id. at ¶ 11. Any time incurred subsequent to December 19, 2020

 was spent in transitioning the matter to the next financial advisor. Id.

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   The Committee believes it does need a financial advisor, and specifically Riveron because it is so steeped in the oil
 and gas industry, to assist it with, among other things, the sale process, operational issues, and plan
 feasibility/valuation issues.

                                                           7
 DOCS_LA:340806.3 75205/002
Case 21-22080-GLT              Doc 442    Filed 11/23/21 Entered 11/23/21 13:21:50           Desc Main
                                         Document      Page 8 of 8




                  18.         Further, RTS did not receive any payments from the Debtors during the 90

 days prior to the petition date. The Committee is unaware of any claims that the Debtors have

 against RTS and the Debtors have not objected to the Application.

         WHEREFORE, the Committee respectfully requests entry of an order, substantially in the

 form attached to the forthcoming Certification of Counsel at Exhibit A thereto, and granting such

 other relief as is just and proper.

  Date: November 23, 2021                          WHITEFORD, TAYLOR & PRESTON, LLP

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                                                   and Rockdale Marcellus, LLC




                                                      8
 DOCS_LA:340806.3 75205/002
